
PER CURIAM.
This is another case involving the City of Miami’s pension offset ordinance. The City has raised two issues on appeal. The City argues that Barragan v. City of Miami, 545 So.2d 252 (Fla.1989) should not be applied retroactively. We have previously decided that it does apply retroactively. City of Miami v. Bell, 606 So.2d 1183 (Fla. 1st DCA 1992); City of Miami v. Burnett, 596 So.2d 478 (Fla. 1st DCA1992); City of Daytona Beach v. Amsel, 585 So.2d 1044 (Fla. 1st DCA 1991). We see no reason to depart from those holdings.
*1110The City also argues that it was error to award a ten percent penalty under section 440.20, Florida Statutes (1985) on the retroactively awarded setoff benefits. We find no error in this ruling by the Judge of Compensation Claims for the reasons expressed in our opinion in Bell. Accordingly, we affirm the order on appeal. We certify to the Florida Supreme Court as a question of great public importance the same question certified in Bell.
Finally, we grant appellee’s motion for attorney’s fees on appeal. As we have in other cases we note that the issues on appeal in this case are largely duplicative of the issues in other cases argued before this court relating to the offset ordinance. We remand the matter to the JCC to determine the amount of attorney’s fees. We direct the JCC’s attention to that part of this court’s opinion in Burnett which dealt with attorney’s fees.
JOANOS, C.J., and BOOTH and KAHN, JJ., concur.
